
GREEN, J.,
delivered the resolution of the court. The replicatiofi, however understood, is wholly defective. If it intended to rely upon the common law abjuration of the realm; that never existed here, or, if It did, it could only be proved by a record taken by a coroner, and by him certified to the proper court; and the plea should have been verified by the record, instead of concluding to the country. If it intended to rely upon the expatriation of the husband under our statute, it should have been shewn how he expatriated himself, by a recorded declaration by deed, or in open court, and that he had departed from the commonwealth : and even that would not have been sufficient, without the further allegation, that he resided abroad at the time of the execution of the bond by his wife. Both judgments should be reversed ; the demurrer to the replication sustained, and final judgment given for the appellant.
